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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on May 25, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-476 (APM)
ve : VIOLATIONS:

SHANE JASON WOODS,
: 18 U.S.C. § 231(a)(3)
Defendant. : (Civil Disorder)

> «=18 U.S.C. § 111(a)(1)
(Assaulting, Resisting, or Impeding
Certain Officers)
18 U.S.C. § 113(a)(4)
(Striking, Beating, or Wounding of
Another Person within the Territorial
Jurisdiction)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in Restricted
Grounds)
18 U.S.C. § 1752(a)(2)

: (Disorderly and Disruptive Conduct in a
Restricted Grounds)
18 U.S.C. § 1752(a)(4)
(Physical Violence in Restricted Grounds)
40 USS.C. § 5104(e)(2)(F)
(Act of Physical Violence in the Capitol
Grounds)
18 U.S.C. § 113(a)(5)
(Simple Assault within the Territorial
Jurisdiction)

FIRST SUPERSEDING INDICTMENT

 

The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, SHANE JASON WOODS

committed and attempted to commit an act to obstruct, impede, and interfere with a law
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enforcement officer, that is, Officer J.F., an officer from the United States Capitol Police, lawfully
engaged in the lawful performance of his/her official duties, incident to and during the commission
of a civil disorder which in any way and degree obstructed, delayed, and adversely affected
commerce and the movement of any article and commodity in commerce and the conduct and
performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere, SHANE
JASON WOODS, at a place within the territorial jurisdiction of the United States, namely the
United States Capitol Grounds, on land acquired for the use of the United States and under its
exclusive jurisdiction, did commit an assault of an individual with initials G.P. by striking, beating,
and wounding an individual with initials G.P.

(Striking, Beating, and Wounding within the Territorial Jurisdiction of the United
States, in violation of Title 18, United States Code, Sections | 13(a)(4))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, SHANE JASON WOODS,
did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee
of the United States, and of any branch of the United States Government (including any member
of the uniformed services), that is, Officer J.F., while such person was engaged in and on account
of the performance of official duties, and where the acts in violation of this section involved
physical contact with Officer J.F. and were done with the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
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COUNT FOUR
On or about January 6, 2021, in the District of Columbia, SHANE JASON WOODS, did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President and Vice President-elect were temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Grounds, in violation of Title 18, United States
Code, Section 1752(a)(1))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, SHANE JASON WOODS, did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did, in fact, impede and disrupt the
orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in Restricted Grounds, in violation of Title 18,
United States Code, Section 1752(a)(2))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, SHANE JASON WOODS, did
knowingly engage in any act of physical violence against any person and property in restricted
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President and Vice President-elect were temporarily

visiting.
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(Engaging in Physical Violence in a Restricted Grounds, in violation of Title 18, United
States Code, Section 1752(a)(4))

COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, SHANE JASON WOODS,
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds.
(Act of Physical Violence in the Capitol Grounds, in violation of Title 40, United States
Code, Section 5104(e)(2)(F))
COUNT EIGHT
On or about January 6, 2021, within the District of Columbia and elsewhere, SHANE
JASON WOODS, at a place within the territorial jurisdiction of the United States, namely the
United States Capitol Grounds, on land acquired for the use of the United States and under its
exclusive jurisdiction, did commit a simple assault of an individual with initials G.P.

(Simple Assault within the Territorial Jurisdiction of the United States, in violation of
Title 18, United States Code, Sections 113(a)(5))

A TRUE BILL:

FOREPERSON.
Channing D Prddipo
Attorney of the United’States in
and for the District of Columbia.
